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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

   LEO M. CURLEY, JR. and                                  :
   CATHERINE M. CURLEY                                     :
              Plaintiffs,                                  :
        v.                                                 :   C.A. No.: 1:16-cv-00676-M-PAS
                                                           :
   RICHARD T. ZUERNER, M.D.,                               :
   UROLOGY ASSOCIATES, INC.,                               :
   AARON W. WAY, D.O.,                                     :
   OSTEOPATHIC FAMILY MEDICINE, LLC,                       :
   JOHN/JANE DOE, M.D., Alias                              :
   JOHN DOE CORPORATION, Alias and                         :
              Defendants.                                  :


                              FIRST AMENDED COMPLAINT

                                  PARTIES AND JURISDICTION

          1.      Leo M. Curley, Jr. is a citizen of Port Charlotte, Florida.

          2.      Catherine M. Curley is a citizen of Port Charlotte, Florida.

          3.      Catherine M. Curley is the wife of Leo M. Curley, Jr.

            4.      Defendant Richard T. Zuerner, M.D. upon information and belief is a citizen
   and resident of the State of Rhode Island. At all times mentioned herein, said defendant was
   engaged in the practice of medicine in the State of Rhode Island and held himself out to be a
   specialist in the field of urology.

           5.      Defendant Urology Associates, Inc. is a business organization existing under
   the laws of the State of Rhode Island with a principal place of business therein. At all
   relevant times, defendant Urology Associates, Inc. was engaged in the provision of medical
   care services. At all relevant times, defendant Richard T. Zuerner, M.D. was an employee,
   agent, and/or servant of Urology Associates, Inc.

           6.     Defendant Aaron W. Way, D.O. upon information and belief is a citizen and
   resident of the State of Rhode Island. At all times mentioned herein, said defendant was
   engaged in the practice of medicine in the State of Rhode Island and held himself out to be
   an osteopathic physician.

           7.      Defendant Osteopathic Family Medicine, LLC is a business organization
   existing under the laws of the State of Rhode Island with a principal place of business
   therein. At all relevant times, defendant Osteopathic Family Medicine, LLC was engaged in
   the provision of medical care services. At all relevant times, defendant Aaron W. Way, M.D.
   was an employee, agent, and/or servant of Osteopathic Family Medicine, LLC.
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            8.      Defendants John/Jane Doe, M.D., Alias, upon information and belief were
   citizens and residents of the State of Rhode Island. The true names of defendants are
   unknown to plaintiffs who consequently sue such defendants by said fictitious names.
   Plaintiffs will seek leave to amend their complaint to state the true names of defendant
   John/Jane Doe, M.D., Alias, when such have been ascertained.

            9.     Defendant John Doe Corporation, Alias upon information and belief is a
   business organization existing under the laws of the State of Rhode Island with a principal
   place of business therein. The true name of the defendant corporation is unknown to
   plaintiffs who consequently sue such defendant by said fictitious name. Plaintiffs will seek
   leave to amend their complaint to state defendant John Doe Corporation, Alias’s true name
   when such has been ascertained.

           10.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, in
   that there is diversity of citizenship among the parties, and the amount in controversy
   exceeds $75,000, exclusive of interests and costs.

                                           COUNT I
                                         NEGLIGENCE
                                   RICHARD T. ZUERNER, M.D.

             1.    Plaintiffs hereby incorporate Paragraphs 1 through 10 as if fully set forth
   herein.

         2.     On or about June 12, 2007 and thereafter, defendant Richard T. Zuerner,
   M.D. undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

           3.       It then and there became and was the duty of defendant Richard T. Zuerner,
   M.D. to exercise that degree of diligence and skill required of the average physician engaged
   in the practice of urology.

           4.     Nevertheless, defendant Richard T. Zuerner, M.D. disregarded his duty as
   aforesaid and failed to exercise said degree of diligence and skill in that he failed to properly
   diagnose and failed to render adequate, proper, and necessary treatment to Mr. Curley and
   was otherwise negligent in his diagnosis, treatment, and care of him.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

           7.      As a direct and proximate result of defendant Richard T. Zuerner, M.D.’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual



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   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           8.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          9.      By reason of the foregoing, Catherine M. Curley has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Richard T. Zuerner, M.D. in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                          COUNT II
                                 LACK OF INFORMED CONSENT
                                 RICHARD T. ZUERNER, M.D.

          1.      Plaintiffs hereby incorporate Count I as if fully set forth herein.

            2.     It then and there became the duty of defendant Richard T. Zuerner, M.D.,
   no emergency existing, to inform Mr. Curley of the risks of harm attendant to the treatment
   and care he proposed to administer to and perform upon him so that he could give his
   informed consent to such treatment. It also then and there became the duty of defendant
   Richard T. Zuerner, M.D. to obtain Mr. Curley’s informed consent before proceeding with
   said treatment and care.

           3.      Nevertheless, defendant Richard T. Zuerner, M.D. disregarded his duty as
   aforesaid and failed to inform Mr. Curley of the risks of harm attendant to the treatment and
   care in question and proceeded to perform said treatment and care without having obtained
   Mr. Curley’s informed consent.

            4.     If defendant Richard T. Zuerner, M.D. had informed Mr. Curley of the risks
   of harm attendant to the treatment and care in question, including, but not limited to, the
   risk that he might suffer those injuries from which he suffered as a direct performance of
   said treatment and care, Mr. Curley would have refused to consent to the performance of the
   treatment and care therein involved.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

           7.      As a direct and proximate result of defendant Richard T. Zuerner, M.D’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and


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   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           8.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          9.      By reason of the foregoing, Catherine M. Curley has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Richard T. Zuerner, M.D. in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                         COUNT III
                                        NEGLIGENCE
                                   UROLOGY ASSOCIATES, INC.

          1.      On or about June 12, 2007 and thereafter defendant Urology Associates, Inc.
   undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

            2.     It then and there became and was the duty of said defendant Urology
   Associates, Inc. through its agents, servants, employees and partners, to exercise ordinary
   care in the diagnosis, treatment, and care of Mr. Curley.

           3.      Nevertheless, defendant Urology Associates, Inc. disregarded its duty as
   aforesaid and, through its agents, servants, employees, and partners, failed to exercise said
   ordinary care in that the employees, agents, servants, and/or partners of defendant Urology
   Associates, Inc. failed to properly diagnose and failed to render adequate, proper and
   necessary treatment to Mr. Curley and were otherwise negligent in their diagnosis, treatment,
   and care of him.

            4.      As a direct and proximate result of defendant Urology Associates, Inc.’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.


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           7.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          8.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Urology Associates, Inc. in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                         COUNT IV
                                     CORPORATE LIABILITY
                                   UROLOGY ASSOCIATES, INC.

          1.      Plaintiffs hereby incorporate Count III as if fully set forth herein.

           2.      It then and there became and was the duty of defendant Urology Associates,
   Inc. to provide quality medical care to Mr. Curley to exercise the care in granting credentials
   and privileges to those providing care and treatment at Urology Associates, Inc., to protect
   his safety, to protect him from incompetent and/or negligent treatment, and to otherwise
   exercise reasonable care for his protection and well-being.

           3.       Nevertheless, defendant Urology Associates, Inc. negligently disregarded its
   duty as aforesaid in that it failed to promulgate and enforce policies and procedures to insure
   the delivery of ordinary medical group care and otherwise failed to discharge its
   responsibilities as a medical group to Mr. Curley.

            4.      As a direct and proximate result of defendant Urology Associates, Inc.’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

           7.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.




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          8.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Urology Associates, Inc. in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                          COUNT V
                                     VICARIOUS LIABILITY
                                   UROLOGY ASSOCIATES, INC.

           1.     Counts III and IV are hereby incorporated by reference as if fully set forth at
   length herein.

           2.     At all material times, defendant Richard T. Zuerner, M.D. was an employee,
   agent, apparent agent, and/or servant of defendant Urology Associates, Inc. and was acting
   within the scope of his employment or agency.

           3.      At all relevant times, defendant Urology Associates, Inc. was vicariously
   responsible for the acts and conduct of its employees, agents, apparent agents, and servants,
   including, but not limited to, the negligent acts or conduct of defendant Richard T. Zuerner,
   M.D., as set forth.

            4.      As a direct and proximate result of defendant Urology Associates, Inc.’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

           7.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          8.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

         WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Urology Associates, Inc. in an amount exceeding the


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   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                           COUNT VI
                                          NEGLIGENCE
                                       AARON W. WAY, D.O.

             1.    Plaintiffs hereby incorporate Paragraphs 1 through 10 as if fully set forth
   herein.

          2.      On or about July 31, 2008 and thereafter, defendant Aaron W. Way, D.O.
   undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

           3.       It then and there became and was the duty of defendant Aaron W. Way,
   D.O. to exercise that degree of diligence and skill required of the average physician engaged
   in the practice of urology.

           4.     Nevertheless, defendant Aaron W. Way, D.O. disregarded his duty as
   aforesaid and failed to exercise said degree of diligence and skill in that he failed to properly
   diagnose and failed to render adequate, proper, and necessary treatment to Mr. Curley and
   was otherwise negligent in his diagnosis, treatment, and care of him.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

            7.      As a direct and proximate result of defendant Aaron W. Way, D.O.’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           8.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          9.      By reason of the foregoing, Catherine M. Curley has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

          WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Aaron W. Way, D.O. in an amount exceeding the jurisdictional
   minimum of this Court, exclusive of interest and costs, and whatever further relief this Court
   deems just.



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                                          COUNT VII
                                 LACK OF INFORMED CONSENT
                                    AARON W. WAY, D.O.

          1.      Plaintiffs hereby incorporate Count VI as if fully set forth herein.

           2.     It then and there became the duty of defendant Aaron W. Way, D.O., no
   emergency existing, to inform Mr. Curley of the risks of harm attendant to the treatment and
   care he proposed to administer to and perform upon him so that he could give his informed
   consent to such treatment. It also then and there became the duty of defendant Aaron W.
   Way, D.O. to obtain Mr. Curley’s informed consent before proceeding with said treatment
   and care.

           3.      Nevertheless, defendant Aaron W. Way, D.O. disregarded his duty as
   aforesaid and failed to inform Mr. Curley of the risks of harm attendant to the treatment and
   care in question and proceeded to perform said treatment and care without having obtained
   Mr. Curley’s informed consent.

           4.     If defendant Aaron W. Way, D.O. had informed Mr. Curley of the risks of
   harm attendant to the treatment and care in question, including, but not limited to, the risk
   that he might suffer those injuries from which he suffered as a direct performance of said
   treatment and care, Mr. Curley would have refused to consent to the performance of the
   treatment and care therein involved.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

            7.      As a direct and proximate result of defendant Aaron W. Way, D.O.’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.
            8.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          9.      By reason of the foregoing, Catherine M. Curley has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

          WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Aaron W. Way, D.O. in an amount exceeding the jurisdictional
   minimum of this Court, exclusive of interest and costs, and whatever further relief this Court
   deems just.


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                                      COUNT VIII
                                      NEGLIGENCE
                            OSTEOPATHIC FAMILY MEDICINE, LLC

           1.   On or about July 31, 2008 and thereafter defendant Osteopathic Family
   Medicine, LLC undertook for a valuable consideration to diagnose treat and care for Mr.
   Curley.

          2.       It then and there became and was the duty of said defendant Osteopathic
   Family Medicine, LLC, through its agents, servants, employees and partners, to exercise
   ordinary care in the diagnosis, treatment and care of Mr. Curley.

           3.      Nevertheless, defendant Osteopathic Family Medicine, LLC disregarded its
   duty as aforesaid and, through its agents, servants, employees, and partners, failed to exercise
   said ordinary care in that the employees, agents, servants, and/or partners of defendant
   Osteopathic Family Medicine, LLC failed to properly diagnose and failed to render adequate,
   proper and necessary treatment to Mr. Curley and were otherwise negligent in their
   diagnosis, treatment, and care of him.

            4.      As a direct and proximate result of defendant Osteopathic Family Medicine,
   LLC’s negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves
   and nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

           7.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          8.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Osteopathic Family Medicine, LLC in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.




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                                       COUNT IX
                                  CORPORATE LIABILITY
                            OSTEOPATHIC FAMILY MEDICINE, LLC

          1.      Plaintiffs hereby incorporate Count VIII as if fully set forth herein.

          2.      It then and there became and was the duty of defendant Osteopathic Family
   Medicine, LLC to provide quality medical care to Mr. Curley to exercise the care in granting
   credentials and privileges to those providing care and treatment at Osteopathic Family
   Medicine, LLC, to protect his safety, to protect him from incompetent and/or negligent
   treatment, and to otherwise exercise reasonable care for his protection and well-being.

           3.       Nevertheless, defendant Osteopathic Family Medicine, LLC negligently
   disregarded its duty as aforesaid in that it failed to promulgate and enforce policies and
   procedures to insure the delivery of ordinary medical group care and otherwise failed to
   discharge its responsibilities as a medical group to Mr. Curley.

            4.      As a direct and proximate result of defendant Osteopathic Family Medicine,
   LLC’s negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves
   and nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

           7.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          8.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Osteopathic Family Medicine, LLC in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.




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                                        COUNT X
                                   VICARIOUS LIABILITY
                            OSTEOPATHIC FAMILY MEDICINE, LLC

           1.      Counts VIII through IX are hereby incorporated by reference as if fully set
   forth at length herein.

           2.     At all material times, defendant Aaron W. Way, D.O. was an employee,
   agent, apparent agent, and/or servant of defendant Osteopathic Family Medicine, LLC and
   was acting within the scope of his employment or agency.

           3.      At all relevant times, defendant Osteopathic Family Medicine, LLC was
   vicariously responsible for the acts and conduct of its employees, agents, apparent agents,
   and servants, including, but not limited to, the negligent acts or conduct of defendant Aaron
   W. Way, D.O., as set forth.

            4.      As a direct and proximate result of defendant Osteopathic Family Medicine,
   LLC’s negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves
   and nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

           7.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          8.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant Osteopathic Family Medicine, LLC in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                         COUNT XI
                                       NEGLIGENCE
                                 JOHN/JANE DOE, M.D., ALIAS

             1.   Plaintiffs hereby incorporate Paragraphs 1 through 10 as if fully set forth
   herein.


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          2.      During the relevant timeframe, defendant John/Jane Doe, M.D., Alias
   undertook for a valuable consideration to diagnose, treat, and care for Mr. Curley.

          3.      It then and there became and was the duty of defendant John/Jane Doe,
   M.D., Alias to exercise that degree of diligence and skill required of the average physician
   engaged in the practice of urology.

           4.     Nevertheless, defendant John/Jane Doe, M.D., Alias disregarded his duty as
   aforesaid and failed to exercise said degree of diligence and skill in that he failed to properly
   diagnose and failed to render adequate, proper, and necessary treatment to Mr. Curley and
   was otherwise negligent in his diagnosis, treatment, and care of him.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

            7.      As a direct and proximate result of defendant John/Jane Doe, M.D., Alias’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           8.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          9.      By reason of the foregoing, Catherine M. Curley has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant John/Jane Doe, M.D., Alias in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                           COUNT XII
                                  LACK OF INFORMED CONSENT
                                  JOHN/JANE DOE, M.D., ALIAS

           1.      Plaintiffs hereby incorporate Count XI as if fully set forth herein.

          2.     It then and there became the duty of defendant John/Jane Doe, M.D., Alias,
   no emergency existing, to inform Mr. Curley of the risks of harm attendant to the treatment
   and care he proposed to administer to and perform upon him so that he could give his


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   informed consent to such treatment. It also then and there became the duty of defendant
   John/Jane Doe, M.D., Alias to obtain Mr. Curley’s informed consent before proceeding with
   said treatment and care.

           3.      Nevertheless, defendant John/Jane Doe, M.D., Alias disregarded his duty as
   aforesaid and failed to inform Mr. Curley of the risks of harm attendant to the treatment and
   care in question and proceeded to perform said treatment and care without having obtained
   Mr. Curley’s informed consent.

            4.      If defendant John/Jane Doe, M.D., Alias had informed Mr. Curley of the
   risks of harm attendant to the treatment and care in question, including, but not limited to,
   the risk that he might suffer those injuries from which he suffered as a direct performance of
   said treatment and care, Mr. Curley would have refused to consent to the performance of the
   treatment and care therein involved.

          5.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           6.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

            7.      As a direct and proximate result of defendant John/Jane Doe, M.D., Alias’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           8.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          9.      By reason of the foregoing, Catherine M. Curley has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant John/Jane Doe, M.D., Alias in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                        COUNT XIII
                                       NEGLIGENCE
                                JOHN DOE CORPORATION, ALIAS

          1.      During the relevant timeframe, defendant John Doe Corporation, Alias,
   undertook for valuable consideration to diagnose treat and care for Mr. Curley.



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            2.     It then and there became and was the duty of said defendant John Doe
   Corporation, Alias, through its agents, servants, employees and partners, to exercise ordinary
   care in the diagnosis, treatment and care of Mr. Curley.

           3.      Nevertheless, defendant John Doe Corporation, Alias disregarded its duty as
   aforesaid and, through its agents, servants, employees, and partners, failed to exercise said
   ordinary care in that the employees, agents, servants, and/or partners of defendant John
   Doe Corporation, Alias failed to properly diagnose and failed to render adequate, proper and
   necessary treatment to Mr. Curley and were otherwise negligent in its diagnosis, treatment,
   and care of him.

          4.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           5.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

            6.      As a direct and proximate result of defendant John Doe Corporation, Alias’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           7.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          8.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant John Doe Corporation, Alias in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                        COUNT XIV
                                    CORPORATE LIABILITY
                                JOHN DOE CORPORATION, ALIAS

          1.      Plaintiffs hereby incorporate Counts XIII as if fully set forth herein.

           2.     It then and there became and was the duty of defendant John Doe
   Corporation, Alias to provide quality medical care to Mr. Curley to exercise the care in
   granting credentials and privileges to those providing care and treatment at John Doe
   Corporation, Alias, to protect his safety, to protect him from incompetent and/or negligent
   treatment, and to otherwise exercise reasonable care for his protection and well-being.


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           3.       Nevertheless, defendant John Doe Corporation, Alias negligently disregarded
   its duty as aforesaid in that it failed to promulgate and enforce policies and procedures to
   insure the delivery of ordinary medical group care and otherwise failed to discharge its
   responsibilities as a medical group to Mr. Curley.

          4.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           5.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

            6.      As a direct and proximate result of defendant John Doe Corporation, Alias’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           7.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          8.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
   Leo M. Curley, Jr.

            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
   judgment against defendant John Doe Corporation, Alias in an amount exceeding the
   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                        COUNT XV
                                    VICARIOUS LIABILITY
                                JOHN DOE CORPORATION, ALIAS

           1.      Counts XIII and XIV are hereby incorporated by reference as if fully set
   forth at length herein.

          2.      At all material times, defendant John/Jane Doe, M.D., Alias was an
   employee, agent, apparent agent, and/or servant of defendant John Doe Corporation, Alias
   and was acting within the scope of his/her employment or agency.

           3.      At all relevant times, defendant John Doe Corporation, Alias was vicariously
   responsible for the acts and conduct of its employees, agents, apparent agents, and servants,
   including, but not limited to, the negligent acts or conduct of defendant John/Jane Doe,
   M.D., Alias, as set forth.



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          4.      On or about September 4, 2014, Mr. Curley was first diagnosed with
   amyloidosis by his nephrologist Joseph Romanello, M.D.

           5.     Mr. Curley’s injury was such that in the exercise of reasonable diligence it was
   not discoverable to him until a date within three years of the commencement of this action.

            6.      As a direct and proximate result of defendant John Doe Corporation, Alias’s
   negligence as aforesaid, Mr. Curley suffered severe injuries to his mind, body, nerves and
   nervous system, has endured and will in the future endure extreme mental pain and
   suffering, emotional distress, has and will in the future be unable to perform his usual
   activities, and has suffered a loss of enjoyment of life, all of which injuries are permanent,
   and has been otherwise permanently damaged.

           7.      By reason of the foregoing, plaintiffs have incurred and will in the future
   incur the need for and resulting expenses for medical and nursing treatment, medicines,
   hospitalization, therapy, and the like.

          8.      By reason of the foregoing, Catherine M. Curley, has suffered and will
   continue to suffer the loss of services, companionship, society, and comfort of her husband,
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            WHEREFORE, plaintiffs Leo M. Curley, Jr. and Catherine M. Curley demand
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   jurisdictional minimum of this Court, exclusive of interest and costs, and whatever further
   relief this Court deems just.

                                                  Plaintiffs
                                                  By their attorneys:



                                                  /s/ Miriam Weizenbaum______________
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   Dated: January 17, 2017

   PLAINTIFFS DEMAND A TRIAL BY JURY AND
   DESIGNATE MIRIAM WEIZENBAUM AS TRIAL COUNSEL




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